                              Case 17-05137-LT7        Filed 08/23/22     Entered 08/23/22 10:17:19        Doc 907    Pg. 1 of 2




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                              6   Attorneys for Gerald H. Davis, Chapter 7 Trustee
                              7                             UNITED STATES BANKRUPTCY COURT
                              8
                                                             SOUTHERN DISTRICT OF CALIFORNIA
                              9
                                  In re:                                                 Case No.: 17-05137-LT7
                             10
                                  PEPPERTREE PARK VILLAGES 9 & 10,                       SUPPLEMENTAL PROOF OF SERVICE
                             11
                                  LLC,
                             12
                                                         Debtor.
La Jolla, California 92037




                             13
 5656 La Jolla Boulevard
 FINANCIAL LAW GROUP




                             14            I, Sandra Young, hereby declare as follows:
                             15          I am employed in the City of La Jolla, County of San Diego, California. I am over the age
                                  of 18 years and not a party to the within action; and I am employed in the County of San Diego,
                             16   California, within which county the subject mailing occurred. My business address is 5656 La
                                  Jolla Blvd., La Jolla, California 92037. On August 23, 2022, I served a true and correct copy of
                             17
                                  the following document(s):
                             18
                                  NOTICE OF CHAPTER 11 ADMINISTRATIVE CLAIMS BAR DATE –
                             19   PEPPERTREE PARK VILLAGES 9 & 10, LLC ONLY
                             20   on the interested parties in this action as follows:
                             21
                                  X       by U.S. FIRST CLASS MAIL SERVICE, POSTAGE PREPAID by placing each
                             22   document in a sealed, envelope with postage thereon fully prepaid, for collection and mailing at
                                  Financial Law Group, La Jolla, California, following ordinary business practices and addressed
                             23   as set forth below. I am familiar with the practice of Financial Law Group for collection for
                                  U.S. mail, said practice being that in the ordinary course of business, correspondence is picked
                             24   up at our office the same day as it is placed for collection. I am aware that on motion of the
                             25   party served, service is presumed invalid if postal cancellation date or postage meter date is
                                  more than one day after date of deposit for mailing affidavit.
                             26
                                  BD Acquisitions and/or Successor
                             27   613 Birchwood Court
                                  Danville, CA 94506
                             28

                                  IN RE PEPPERTREE PARK VILLAGES 9&10, LLC           1              SUPPLEMENTAL PROOF OF SERVICE
                                  CASE NO. 17-05137-LT7
                              Case 17-05137-LT7       Filed 08/23/22     Entered 08/23/22 10:17:19         Doc 907     Pg. 2 of 2



                                  Judkins, Glatt & Rich
                              1   600 B Street, Suite 2350
                              2   San Diego, CA 92101

                              3   Rich Brasher
                                  P.O. Box 55187
                              4   Atlanta, GA 30308
                              5
                                  Dudek
                              6   605 3rd Street
                                  Encinitas, CA 92024
                              7
                                  Helix Environmental Planning
                              8   7578 El Cajon Blvd., Suite 200
                                  La Mesa, CA 91942
                              9

                             10          I declare under penalty of perjury under the laws of the United States that the foregoing is
                                  true and correct.
                             11
                                         Executed August 23, 2022, at La Jolla, California.
                             12
                                                                                               /s/ Sandra Young
La Jolla, California 92037




                             13
 5656 La Jolla Boulevard




                                                                                               Sandra Young
 FINANCIAL LAW GROUP




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                                  IN RE PEPPERTREE PARK VILLAGES 9&10, LLC         2              SUPPLEMENTAL PROOF OF SERVICE
                                  CASE NO. 17-05137-LT7
